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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Commodity Futures Trading Commission
                                               Plaintiff,
v.                                                            Case No.: 1:23−cv−01887
                                                              Honorable Manish S. Shah
Changpeng Zhao, et al.
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 23, 2023:


       MINUTE entry before the Honorable Manish S. Shah: The motion to withdraw as
attorney [74] is granted. Erin Pamela Gasparka is terminated as counsel of record. Notices
mailed. (psm, )




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